                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


 EMMANUEL HILL,                                    )
                                                   )
          Plaintiff,                               )
                                                   )
 v.                                                )    NO. 3:24-cv-01372
                                                   )
                                                   )    JUDGE CAMPBELL
 TN, DEPARTMENT OF                                 )
 CORRECTIONS, et al.,                              )
                                                   )
          Defendants.                              )



                                              ORDER

         I hereby recuse myself in this case. The file shall be returned to the Clerk for reassignment

to another judge.

         It is so ORDERED.


                                               ____________________________________
                                               WILLIAM L. CAMPBELL, JR.
                                               CHIEF UNITED STATES DISTRICT JUDGE




      Case 3:24-cv-01372       Document 5        Filed 11/21/24      Page 1 of 1 PageID #: 37
